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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 20-61849-CIV-SMITH

 MITCHELL WELLER, individually
 and on behalf of all others similarly situated,

        Plaintiff,
 v.

 ENVISION PHYSICIAN SERVICES, LLC,

       Defendant.
 _______________________________/

                      ORDER OF FINAL DISMISSAL WITHOUT PREJUDICE

        This matter is before the Court on the Notice of Voluntary Dismissal without Prejudice

 [DE 11] filed by Plaintiff Mitchell Weller. Accordingly, it is

        ORDERED that:

        1. This matter is DISMISSED without prejudice.

        2. All motions not otherwise ruled upon are DENIED as moot.

        3. This case is CLOSED.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 9th day of October 2020.




 cc:    All counsel of record
